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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                              BALTIMORE DIVISION


American Federation of Teachers, et al.,

                Plaintiffs,

  v.

U.S. Department of Education, et al.,              Civil Case No. 1:25-cv-00628

                Defendants.




       MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION FOR A
                      PRELIMINARY INJUNCTION
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        Millions of educators, students, and schools have experienced significant harm since

February 14, 2025, when the U.S. Department of Education (the “Department”) published a Dear

Colleague Letter 1 (the “Letter”) that flipped longstanding civil rights law on its head. The Letter

has thrown states, school districts, and educators into confusion and forced them to chill their own

expression for fear of investigation and losing critical federal funds. The Letter labeled large

swaths of curriculum as toxic, decreed critical student support programs stigmatizing and

insidious, and asserted that race may not be a consideration in any aspect of campus life. This

Letter immediately destabilized learning communities and the public servants who work to educate

our children across the country.

        The Letter purports to reiterate existing legal requirements. Instead, it co-opts existing

constitutional protections and federal civil rights laws, intended to reduce discrimination and

promote equality, to assert that remedial efforts by schools and educators to uphold these laws and

broaden educational opportunities are themselves discriminatory.

        Besides being contrary to the civil rights laws central to our country’s democracy, the

Letter also imposes harmful policies on our country’s children. By threatening schools and

educators for teaching U.S. history, and targeting voluntary celebrations of cultures and

communities, the Department is not protecting our classrooms. The Letter’s assertions are contrary

to the ideals that serve as this country’s foundation. Barring educators and their students from

exploring ideas and joining student groups that permit them to share in each other’s cultures and

build community, deprives them of critical parts of their education. Schools, from pre-K to college,

are where we learn about our world and each other. Students not only acquire knowledge and



1
 Letter from Craig Trainor, Acting Assistant Sec’y for C.R., U.S. Dep’t of Educ., to Colleagues Letter from Craig
Trainor, Acting Assistant Sec’y for C.R., U.S. Dep’t of Educ., to Colleagues (Feb. 14, 2025), https://perma.cc/SF4T-
WA33 (last accessed Feb. 21, 2025), Ex. 11, PLFS-114.


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develop skills, but also wrestle with hard truths and engage with those who may have different

perspectives.

       To stop the harms that this Letter is already working across the country, Plaintiffs seek a

preliminary injunction. This request is supported by declarations from a national teachers union, a

Maryland teachers union, a national association of sociologists, an Oregon K-12 school district

superintendent, higher education professors in Maryland, Pennsylvania, Washington, and a public

high school teacher in Maryland.

                                        BACKGROUND

The Dear Colleague Letter

       On February 14, 2025, the Acting Assistant Secretary for Civil Rights Craig Trainor sent

the Letter to all educational institutions that receive federal financial assistance from the

Department of Education. Letter at 1. The Letter purports to “clarify and reaffirm the

nondiscrimination obligations of schools and other entities that receive federal financial

assistance” required by Title VI, “the Equal Protection Clause of the United States constitution,

and other relevant authorities,” following the Supreme Court’s 2023 decision in Students for Fair

Admissions v. Harvard (“SFFA”), 600 U.S. 181 (2023). Letter at 1-2.

       Constraints on Nondiscriminatory Teaching and Learning. The Letter alleges that

educational institutions “toxically indoctrinate[] students with the false premise that the United

States is built upon ‘systemic and structural racism’ and advance[] discriminatory policies and

practices,” and that proponents of such seek to “smuggl[e] racial stereotypes and explicit race-

consciousness” into “everyday training, programming, and discipline.” Letter at 2. The Letter

provides no evidence or support for these conclusions. Id. Many topics foundational to our




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country’s history, like slavery or the Civil Rights movement, necessarily touch on race, and many

are mandated by state and local standards and curriculum requirements.

        Constraints on Nondiscriminatory Student Groups, Support for Students, and Diversity,

Equity, and Inclusion Programming. The Letter claims that DEI programs “deny students the

ability to participate fully in the life of a school” because they “frequently preference certain racial

groups and teach students that certain racial groups bear unique moral burdens that others do not”

and “stigmatize students who belong to particular racial groups based on crude racial stereotypes.”

Letter at 3. The Letter does not provide support for these assertions. The Letter goes on to claim

that “using race” in any decisions related to any “aspects of student, academic, and campus” is

prohibited by Federal law without providing any context, and despite case law concluding such

practices may be permitted. Letter at 3. This language arguably expands current law to prohibit

meetings of student groups and affinity groups, graduation ceremonies, and the establishment of

housing that is open to all but focused on recognizing, celebrating, or exploring a particular

heritage or culture. It also may prohibit centers of student life that are common on campuses across

the country—such as a Jewish Cultural House, or an Afro-American Cultural Center—which

provide support, community, and mentorship to students from historically marginalized groups,

an important ingredient to retention and success in education.

        Prohibitions on Admission Practices. The Letter concludes that “relying on non-racial

information as a proxy for race” also “violates the law.” Letter at 3. It argues that, for example, it

would be “unlawful for an educational institution to eliminate standardized testing” if one of its

motives is to “increase racial diversity.” Id. The Letter does not cite any statute, regulation, or case

law that authorizes the Department to prohibit schools from engaging in such activities, or any

basis to assert that non-racial information is used as a proxy for race. The Letter relies on SFFA,




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which explicitly contemplates and permits a university “considering an applicant’s discussion of

how race affected his or her life, be it through discrimination, inspiration, or otherwise,” SFFA,

600 U.S. at 230. By contrast, the Letter suggests that such consideration is likely “in fact, motivated

by racial considerations” and may constitute “race-based decision-making.” Letter at 2. Further,

the Letter claims that any (1) differentiation or reliance on race, (2) decisions motivated by racial

considerations, or (3) use of non-racial information as a proxy for race in decisions related to

“admissions” and a host of other activities may be discrimination. If this were the law, it would

subject vast amounts of legal activities to enforcement under the Letter, including, for example,

efforts to recruit students of all races and backgrounds, as well as all income levels, geographic

location, and other forms of diversity. See id. But it is not.

        Threat of Enforcement Reverberates Across the Country. The Letter instructs that the

Department will “take appropriate measures to assess compliance with the applicable statues and

regulations based on the understanding embodied in this letter beginning no later than [February

28, 2025].” Letter at 3. It states that educational institutions must take steps to ensure they comply

with “existing civil rights laws,” but adds the gloss that the law should be interpreted as understood

in the Letter. Letter at 4. Immediately, schools across the country were thrown into confusion and

alarm by this sea change. 2

End DEI Portal

        Even though the Department has long had a portal through which complaints of

discrimination can be submitted to the Office for Civil Rights (“OCR”), the administration

launched a new portal on February 27, 2025—www.EndDEI.ed.gov—to “identify potential areas




2
 Jasper Smith, Ed. Dept.’s Broad DEI Warning Puts College Leaders in ‘Enormously Complicated Situation’, The
Chronicle of Higher Ed. (Feb. 18, 2025), https://perma.cc/FN8J-3EA3, Ex. 12, PLFS-119.


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for investigation.” 3 The portal allegedly aims to be a place to report “illegal discriminatory

practices at institutions of learning.” 4 The portal seeks information on schools that participate in

diversity, equity, and inclusion efforts, which it equates to “divisive ideologies and

indoctrination.” 5

The FAQs

        On February 28, 2025, the Department published a “Frequently Asked Questions About

Racial Preferences and Stereotypes Under Title VI of the Civil Rights Act” 6 (“FAQs”) document

that was “intended to anticipate and answer questions in response” to the Letter. The FAQs warn

schools to avoid creating a “racially hostile environment” but do not provide an explanation of

what that means or reference the well-established relevant legal standards. The FAQs arguably

state that simply discussing controversial topics or challenging issues is enough to establish a

hostile environment and legal liability. 7 While the FAQs acknowledge the First Amendment

limitations on federal control of school curricula, they also assert without support that certain

curricula, such as social-emotional learning and culturally responsive teaching, are discriminatory.

        The Department has, in the past, repeatedly explained the applicable legal standard under

Title VI. For example, in May 2024, the Department published guidance entitled “Ensuring

Educational Opportunities for All Students on Equal Terms 70 Years After Brown v. Board of

Education.” 8 On August 14, 2023, the Department published guidance entitled “Questions and



3
  U.S. Dep’t of Educ., End DEI Portal, https://perma.cc/6VJF-NTY9 (last accessed Mar. 26, 2025), Ex. 13, PLFS-
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4
  Id.
5
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6
  U.S. Dep’t of Educ., Frequently Asked Questions About Racial Preferences and Stereotypes Under Title VI of the
Civil Rights Act (Feb. 28, 2025), https://perma.cc/KB53-4SQ3, Ex. 14, PLFS-130.
7
  Id.
8
  U.S. Dep’t of Educ., Off. For C.R., Fact Sheet: Ensuring Educational Opportunities for All Students on Equal
Terms 70 Years After Brown v. Board of Education, https://perma.cc/82A2-2TL3 (last visited Mar. 24, 2025), Ex.
15, PLFS-130.


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Answers Regarding the Supreme Court’s Decision In Students For Fair Admissions, Inc. v.

Harvard College And University Of North Carolina.” 9 On July 2, 2024, the Department published

a fact sheet entitled “Harassment based on Race, Color, or National Origin on School

Campuses.” 10 In January 2025, the Department last reviewed guidance titled “Resolving a Hostile

Environment Under Title VI: Discrimination Based on Race, Color, or National Origin, Including

Shared Ancestry or Ethnic Characteristics.” 11 However, all of these guidance documents (and

many more) explaining the Title VI legal standards have been recently removed from the

Department’s website. Neither the Letter nor the FAQs discuss or reference these guidance

documents, explain whether those past guidance documents have been rescinded, or attempt to

explain the Department’s stark departure from their approach.

Enforcement Begins

        On March 14, 2025, the Department announced 51 new Title VI investigations following

the Letter. Forty-five of the investigations were based on allegations that colleges and universities

(institutions of higher education or “IHEs”) violated Title VI by partnering with The Ph.D. Project,

a non-profit working to “expand the pool of workplace talent by developing business school

faculty who encourage, mentor, and support tomorrow’s leaders.” 12 The announcement of these

investigations notes that they “can result in the loss of federal funds.” More than 20 of the schools

targeted for investigation employ Plaintiffs’ members.



9
  U.S. Dep’t of Educ., Questions And Answers Regarding The Supreme Court’s Decision In Students For Fair
Admissions, Inc. v. Harvard College And University Of North Carolina (Aug. 14, 2023), https://perma.cc/8QTR-
8PMD, Ex. 16, PLFS-140.
10
   U.S. Dep’t of Educ., Off. for C.R., Fact Sheet: Harassment based on Race, Color, or National Origin on School
Campuses (July 2, 2024), https://perma.cc/Z5JJ-V3WR, Ex. 17, PLFS-153.
11
   U.S. Dep’t of Educ., Off. for C.R., Resolving a Hostile Environment Under Title VI: Discrimination Based on
Race, Color, or National Origin, Including Shared Ancestry or Ethnic Characteristics, https://perma.cc/52LW-
MH3E (last visited Mar. 25, 2025), Ex. 18, PLFS-163.
12
   The PhD Project, Enriching Education for All, https://perma.cc/CMB9-U8QM (last accessed Mar. 24, 2025), Ex.
19, PLFS-174.


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Harms

        The fallout from the Letter was immediate for educators and educational institutions across

the country. For Plaintiffs and Plaintiffs’ members, the Letter has: caused uncertainty about what

work they can do; chilled their speech, conduct, and associational rights; created fears of

investigation for lawful conduct; and threatened loss of federal funding.

        Uncertainty. Plaintiffs and their members have no way of knowing whether the work they

do may be found to run afoul of the Letter. For example, members of AFT and AFT-MD have

described not knowing what is prohibited after reading the Letter and FAQs. See Ex. 1, AFT Decl.

¶ 28, PLFS-010, PLFS-010; Ex. 3, AFT-MD Decl. ¶ 30, PLFS-029. Individual educators who

work at K-12 schools and IHEs do not know what courses and topics they can teach. Ex. 5,

Gallagher Decl. ¶ 14, PLFS-057; Ex. 6, Blee Decl. ¶ 17, PLFS-069; Ex. 7, Jane Doe Decl. ¶¶ 8-9,

PLFS-079; Ex. 8, Hamako Decl. ¶¶ 10-12, 23, PLFS-091. Rather than being able to focus on their

students and their work, educators have had to spend significant time trying to interpret the Letter

and anticipate compliance scenarios. See Ex. 9, John Doe Decl. ¶ 28, PLFS-106 (“Committees are

being convened, faculty are being pulled into meetings, and time and resources are being allocated

to address this massive change in guidance from the Department. This shift in institutional posture

has burdened my time and capacity already. Instead of engaging in my substantive work, I have

been forced to spend time and energy on determining if university policies and courses comply

with the vague language of the Letter, largely to no avail. This is time that should be spent meeting

with my students, furthering my research, or developing my courses.”); see also Ex. 4, District 4J

Decl. ¶ 42, PLFS-046 (describing alarm and fear at all levels of district staff and leadership, and

teachers taking time to reach out leadership about the impact of the letter); Gallagher Decl. ¶¶ 25-

28, PLFS-060; Jane Doe Decl. ¶ 16, PLFS-082.




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       Chilled First Amendment Speech & Activities. Plaintiffs and their members fear “they must

self-censor their speech, including lectures, courses, programs, and other activities” due to the

Letter. AFT Decl. ¶ 25, PLFS-009; see John Doe Decl. ¶ 27, PLFS-106. Topics and themes that

have long been part of Plaintiffs’ members’ teachings are now potentially suspect and may require

censoring. See Hamako Decl. ¶¶ 10-12, 22, PLFS-091; Blee Decl. ¶ 16, PLFS-069; Gallagher Decl.

¶ 27, PLFS-061 (noting the Letter’s reach implicates teaching on race relations he has been doing

for thirty years). The Letter also threatens to lead to the removal of critically important programs

for students, like affinity and student organizations and peer tutoring programs. Jane Doe Decl. ¶

22, PLFS-085 (describing how affinity groups and student organizations are sometimes the entire

reason why students come to school). And teachers “who sponsor affinity groups or first-

generation student organizations fear they will face investigation and prosecution,” thus

“depriv[ing] their students of an essential resource on campus, negatively impacting their ability

to access academic and community support.” Ex. 2, ASA Decl. ¶ 26, PLFS-020; see AFT Decl. ¶

26, PLFS-010 (expressing similar concerns); AFT-MD Decl. ¶ 29, PLFS-029 (same); Hamako

Decl. ¶¶ 10-12, 22, PLFS-091. At the IHE level, the Letter also targets race-neutral programming

that addresses diversity, equity, and inclusion and that can be important vehicles for “essential

cultural teachings and community for the entire population of [an IHE]” and which “allow[] for

important discussions to happen across the student body.” John Doe Decl. ¶ 32, PLFS-107.

       For many, compliance requires “massive alterations to [their] courses, the elimination of

faculty positions, a reduction in class sections, or even the folding of … department[s].” Hamako

Decl. ¶ 12, PLFS-092. Because of the Letter, courses “could be removed, research could be stalled

or never started, and articles won’t be published or accepted.” John Doe Decl. ¶ 27, PLFS-106.

For the field of sociology, the Letter’s reach extends to every aspect of their work, as many ASA




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members teach and perform research related to race and ethnicity, “such as health disparities,

economic inequality, or community development.” ASA Decl. ¶¶ 18-19, PLFS-018; see also Decl.

¶ 25, PLFS-072 (noting fundamental sociological concepts and baseline assumptions that underlie

the field may be under threat from the Letter). Being forced to end “uninhibited fact-based

discussions,” and being prevented from “point[ing] students to reputable scholarship on these

topics,” means “a serious erosion of the academic integrity” of coursework, research, and the

research of students. Blee Decl. ¶ 16, PLFS-069. It also means that the Letter is effectively

dictating Plaintiffs’ curricula. See District 4J Decl. ¶ 14, PLFS-035 (the Letter forces schools to

pull back on their curriculum and efforts to promote critical thinking, equitable outcomes, and a

sense of belonging for students).

       In some cases, the Letter may conflict with state standards. For example, District 4J is

required by state law to teach a Native American curriculum, a genocide curriculum, and use

inclusive instructional materials and incorporate Social and Emotional Learning standards. District

4J Decl. ¶¶ 11-17, PLFS-034. Similarly, “all degree-seeking students attending a Washington state

community or technical college are required to take a DEI and antiracism program” in accordance

with “Washington State law RCW 28B.10.149.” Hamako Decl. ¶ 7, PLFS-091. Given that

discussion of these topics may be barred under the Letter, it is difficult for Plaintiffs to continue

curriculum planning, which is a resource intensive process that is now impeded. See District 4J

Decl. ¶ 13, PLFS-035.

       Fear of Investigation. Plaintiffs and their members fear that their work will lead to

investigations, forcing them and their “institution[s] into an impossible choice of deciding between

continuing to teach in a free and proper manner or face the threat of a costly and drawn-out federal

investigation.” John Doe Decl. ¶ 28, PLFS-106; see District 4J Decl. ¶ 16, PLFS-036 (explaining




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that complying with mandatory state curriculum topics may subject the District to investigation);

Blee Decl. ¶ 12, PLFS-068 (discussing potential of costly investigation); Jane Doe Decl. ¶ 8, PLFS-

079 (same); Hamako Decl. ¶ 16, PLFS-093 (same); Gallagher Decl. ¶ 20, PLFS-058 (same). The

risk of investigation “negatively influenc[es] the work and careers” of Plaintiffs’ members and

“impact[s] the learning and future of their students by depriving them of essential courses and

learning.” AFT-MD Decl. ¶ 27, PLFS-028; see ASA Decl. ¶ 24, PLFS-019 (similar); John Doe

Decl. ¶ 32, PLFS-107 (“I am deeply concerned that the threat of a federal investigation will result

in my institution preemptively curtailing some or all of these meaningful programs and practices.

Such steps would deeply harm the students and campus community.”) Being subject to an

investigation also risks devastating reputational consequences, for both individual educators and

their institutions. See Gallagher Decl. ¶ 13, PLFS-056; John Doe Decl. ¶ 28, PLFS-106; Hamako

Decl. ¶ 10, PLFS-091; Blee Decl. ¶ 12, PLFS-068.

       The risk of potential investigation is increased by the ‘End DEI’ portal, which solicits

discrimination complaints with misleading statements about DEI. See Blee Decl. ¶ 12, PLFS-068;

Jane Doe Decl. ¶ 8, PLFS-079 (describing compounded risk due to “Department’s apparent

encouragement” of complaints from the public based on the Letter).

       Risk of Funding Loss. Plaintiffs fear the loss of federal funding for their institutions. John

Doe Decl. ¶ 12, PLFS-102; Blee Decl. ¶ 21, PLFS-071; AFT-MD Decl. ¶ 31, PLFS-029; Hamako

Decl. ¶ 23, PLFS-095; ASA Decl. ¶ 25, PLFS-019; AFT Decl. ¶ 24, PLFS-009. The threat itself is

enough to negatively affect programming. For example, IHEs will feel “pressure to preemptively

end some or all” programs that the Department might target. Blee Decl. ¶ 36, PLFS-075; John

Doe. Decl. ¶ 21, PLFS-104 (“[T]he threat of the Dear Colleague Letter language may force my

institution to proactively take action to prevent any reduction in federal funds”). Obvious targets




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are identity-oriented cultural centers, which may be “close[d] []entirely instead of risking having

federal funds revoked.” Hamako Decl. ¶ 31, PLFS-098. At the high school level, schools “may be

forced to choose between offering [culture and race-related] courses and maintaining the high

standards of [their programming] or eliminating them to keep . . . federal funding safe from the

threat of the Dear Colleague Letter.” Jane Doe Decl. ¶ 20, PLFS-084.

       The loss of funds would be devastating. For example, if federal funding were eliminated,

Plaintiff District 4J will be unable to provide critical services to its students, including those with

high academic needs and those with disabilities. District 4J Decl. ¶ 38, PLFS-044. The immediate

effect of the loss of funding would require the district to “shorten the school year, depriving

students of instruction time and care; layoff dozens and dozens if not more than 100 educators,

increasing class sizes at all levels; reduce course offerings and enrichment programs; and delay

curricular purchases, stagnating instructional materials for teachers.” Id at ¶ 40, PLFS-045. For

one Plaintiff member’s institution, a loss of funding would likely mean cutting the Asian American

and Native American Pacific Islander-Serving Institutions Program, “which would decimate

programming at [his school].” Hamako Decl. ¶ 23, PLFS-095. For Plaintiffs’ and their members

nationwide, the losses will have widespread effects and put their own jobs at risks. John Doe Decl.

¶ 27, PLFS-106 (“My institution relies significantly on federal funding, and losing that funding

would result in issues across the board.”); AFT-MD Decl. ¶ 30, PLFS-029 (noting risk to members’

jobs); ASA Decl. ¶ 27, PLFS-020 (same); Hamako Decl. ¶ 10, PLFS-091 (noting risk to his job);

Gallagher Decl. ¶ 13, 14, PLFS-056 (same); Blee Decl. ¶ 12, PLFS-068 (same); Jane Doe Decl. ¶

8, PLFS-079 (same).




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                                         LEGAL STANDARD

         To obtain a preliminary injunction order, the moving party must “establish that [it] is likely

to succeed on the merits, that [it] is likely to suffer irreparable harm in the absence of preliminary

relief, that the balance of equities tips in [its] favor, and that an injunction is in the public interest.”

Roe v. Dep’t of Def., 947 F.3d 207, 219 (4th Cir. 2020) (quoting Winter v. Nat. Res. Def. Council,

555 U.S. 7, 20 (2008)) (cleaned up). In cases against the government, the balance of equities and

public interest factors merge into a single inquiry. Nken v. Holder, 556 U.S. 418, 435 (2009).

                                             ARGUMENT

    I.      Plaintiffs Are Likely to Succeed on the Merits.

         Plaintiffs are likely to succeed on the merits that the Letter violates the First Amendment

because the Letter discriminates on the basis of viewpoint and content, and is overbroad. Plaintiffs

are likely to succeed on the merits of their Fifth Amendment claim because the Letter is so vague

and overbroad it fails to provide reasonable notice of the conduct that is prohibited and invites

arbitrary enforcement, putting Plaintiffs in an impossible position as to how to do their jobs and

serve their students.

         Plaintiffs are also likely to succeed on the merits of their Administrative Procedure Act

claims. The Letter is arbitrary and capricious, contrary to constitutional rights, not in accordance

with law, and is in excess of statutory authority. Moreover, it was required to be promulgated

through notice and comment rulemaking.

         A. The Letter Violates the First Amendment.

                1. The Letter squarely regulates “speech” and “association” within the
                   meaning of the First Amendment.

         Government cannot “intimidate [educators] into silence” without implicating the First

Amendment and unlawfully chilling speech. See Ridpath v. Bd. of Govs. Marshall Univ., 447 F.3d


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292, 316 (4th Cir. 2006) (cleaned up). The Supreme Court has long held that “[n]either students

[n]or teachers shed their constitutional rights to freedom of speech or expression at the schoolhouse

gate.” Tinker v. Des Moines Indep. Cmty. Sch. Dist., 393 U.S. 503, 506 (1969). The overbroad and

vague terms and concepts that the Letter seeks to outlaw, see infra Sec. 1.B, along with the Letter’s

claim that these concepts “emanate[] throughout every facet of academia,” Letter at 1, reveal the

Letter’s true goal to intimidate educators into silence and force them to shed their rights. See Loc.

8027, AFT-N.H., AFL-CIO v. Edelblut, 651 F. Supp. 3d 444, 453 (D.N.H. 2023) (“Edelblut I”). 13

         The Letter does not hide that it regulates “speech” and “association” within the meaning of

the First Amendment and attempts to stamp out disfavored views. It expressly restricts how

educators and educational institutions speak about the history of the United States, “systemic and

structural racism,” and how race may impact a person’s experiences. Letter at 2. By its terms, the

Letter applies to “all [] aspects of student, academic, and campus life,” the “school environment,”

and the “life of a school.” Letter at 2-3; see also, e.g., Jane Doe Decl. ¶ 8, PLFS-079 (describing

fear that Letter will prevent her sponsoring a cultural group at school); District 4J Decl. ¶ 31,

PLFS-042 (noting that teachers and staff serve as advisors to affinity groups). Likewise, it seeks

to limit associations with other like-minded people and entities by prohibiting organizations and

programs oriented around disfavored viewpoints about diversity, equity, inclusion, and social

justice. If educators or institutions violate the Letter’s terms, they face enforcement, including

“loss of federal funding.” Letter at 3-4.




13
   Even where such expression is not protected by the First Amendment, it is the responsibility of the state and local
governments to determine curriculum; the federal government is restricted by law from controlling curriculum. See,
e.g., 20 U.S.C. § 3403(b) (federal government has no authority to “direct[], supervis[e], or control … curriculum”).
The Letter creates a tension for schools and teachers who are required to teach certain topics that are seemingly
prohibited by the Letter. Hamako Decl. ¶ 7, PLFS-091 (describing a Washington State requirement that his course
meets that seemingly conflicts with the language of the Letter).


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       In this Circuit, Plaintiffs’ members at IHEs are entitled to particular First Amendment

protection when their expression “relate[s] to scholarship or teaching.” Porter v. Bd. of Trs. of N.C.

State Univ., 72 F.4th 573, 582 (4th Cir. 2023). Here, there is no question that the Letter intrudes

into core aspects of the professor’s academic pursuits. See Blee Decl. ¶ 12, PLFS-068 (describing

the Letter as “a direct threat to [her] career, [her] field, and [her] specialization,” and that her

research “may be viewed by the Department . . . as ‘toxically indoctrinating’ students.”) Likewise,

“almost any aspect of [one of AFT’s member’s] academic activities could threaten [their

institution’s] federal funding” based on the Letter. Hamako Decl. ¶ 24, PLFS-096 (“The Center

and the Program I work with at my institution both provide robust programming and events for

students on campus . . . address[ing] a wide range of issues including reparations, social justice

change, and racial equity.”). John Doe Decl. ¶ 29, PLFS-106. (“I believe that the programming of

the Center . . . may be considered by the Department of Education to be DEI programs or serving

as explicit race-consciousness under the language of the Dear Colleague Letter.”).

       And for Plaintiff District 4J, Justice Frankfurter acknowledged the need to protect schools

from government interference 75 years ago. In rejecting a government loyalty test for teachers, he

explained the centrality of academic freedom to preserving democracy:

       To regard teachers–in our entire educational system, from the primary grades to the
       university–as the priests of our democracy is therefore not to indulge in
       hyperbole.… It is the special task of teachers to foster those habits of open-
       mindedness and critical inquiry which alone make for responsible citizens. . .They
       must have the freedom of responsible inquiry, … into the checkered history of
       social and economic dogma. . . . . to assure which the freedoms of thought, of
       speech, of inquiry, of worship are guaranteed by the Constitution of the United
       States against infraction by national or State government.

Weiman v. Updegraff, 344 U.S. 183, 196-97 (1952) (Frankfurter, J., concurring); see also Urofsky

v. Gilmore, 216 F.3d 401, 413 (4th Cir. 2000) (“[T]he First Amendment protects values of

academic freedom.”).



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        The Letter’s restrictions on the freedom of association fare no better. “[T]he stifling effect

on the academic mind from curtailing freedom of association [by penalizing membership in a

group with a disfavored view] is manifest.” Keyishian v. Bd. of Regents of Univ. of State of N.Y.,

385 U.S. 589, 607 (1967). This right includes expressive association, including association while

engaging in First Amendment activities. Roberts v. U.S. Jaycees, 468 U.S. 609, 617–18 (1984);

see also, e.g., Cromer v. Brown, 88 F.3d 1315, 1331 (4th Cir. 1996) (“The right to associate in

order to express one’s views is ‘inseparable’ from the right to speak freely.” (cleaned up)).

        The infringements on speech and association set forth in the Letter can only be justified by

“compelling state interests, unrelated to the suppression of ideas, that cannot be achieved through

means significantly less restrictive of associational freedoms.” Roberts, 468 U.S. at 623. No such

interests exist here.

                2. The Letter discriminates based on viewpoint and content.

        “It is axiomatic that the government may not regulate speech based on its substantive

content or the message it conveys.” Rosenberger v. Rector and Visitors of Univ. of Va., 515 U.S.

819, 828 (1995). Yet that is precisely what the Letter does. Such regulation is presumptively

unconstitutional. Id.

                        a. The Letter imposes a viewpoint-based restriction.

        The First Amendment prohibits “[t]he government . . . from regulating speech when the

specific motivating ideology or the opinion or perspective of the speaker is the rationale for the

restriction.” Rosenberger, 515 U.S. at 829. Doing so is a “blatant” and “egregious” violation of

the First Amendment. Reed v. Town of Gilbert, Ariz., 576 U.S. 155, 168 (2015). The government

has “no power to restrict expression because of its message, its ideas, its subject matter, or its

content.” Id. at 163 (cleaned up). This is particularly true in education, especially higher education,




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because “[o]ur Nation is deeply committed to safeguarding academic freedom,” and such freedom

is “a special concern of the First Amendment, which does not tolerate laws that cast a pall of

orthodoxy over the classroom.” Keyishian, 385 U.S. at 683.

        The new administration has a clear perspective on issues of diversity, equity, inclusion,

and social justice. 14 But the government may not put a thumb on the scale in favor of its preferred

view:

        [The government’s] failure to persuade does not allow it to hamstring the
        opposition. [It] may not burden the speech of others in order to tilt public debate in
        a preferred direction. . . . [T]he general rule is that the speaker and the audience,
        not the government, assess the value of the information presented.

Sorrel v. IMS Health, Inc., 564 U.S. 552, 578-79 (2011) (cleaned up).

        Nor can the government use its power of the purse to restrict expression of disfavored

views. Agency for Int’l Dev. v. All. for Open Soc’y Int’l, 570 U.S. 205, 214 (2013). Courts routinely

strike down conditions on federal funding in this context. See, e.g., id. at 218-19 (citing Rust v.

Sullivan, 500 U.S. 173, 197 (1991)); Legal Servs. Corp v. Velazquez, 531 U.S. 533, 547-49 (2001);

Santa Cruz Lesbian & Gay Cmty. Ctr. v. Trump, 508 F. Supp. 3d 521, 542 (N.D. Cal. 2020). The

government simply “‘cannot recast a condition on funding as a mere definition of its program in

every case, lest the First Amendment be reduced to a simple semantic exercise.’” Nat’l Council of

Nonprofits v. Off. of Mgmt. and Budget, Civil Action No. 25-239 (LLA), 2025 WL 597959, at *17

(D.D.C. Feb. 25, 2025) (citing Agency for Int’l Dev., 570 U.S. at 215) (finding that “[b]y appearing

to target specific recipients because they associate with certain ideas, [the federal government]

may be crossing a constitutional line” in violation of the First Amendment); see also Nat’l Rifle




14
  See, e.g., End DEI Portal, supra note 3; Exec. Order No. 14151 (“Ending Radical and Wasteful Government DEI
Programs and Preferencing”), 90 Fed. Reg. 8339 (Jan. 29, 2025), Ex. 20, PLFS-179; Exec. Order No. 14173
(“Ending Illegal Discrimination and Restoring Merit-Based Opportunity”), 90 Fed. Reg. 8633 (Jan. 31, 2025), Ex.
21, PLFS-184.


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Ass’n of Am. v. Vullo, 602 U.S. 175, 187 (2024) (finding government official “could not wield her

power. . . to threaten enforcement actions against [entities] in order to punish or suppress” a

disfavored viewpoint).

       The Letter is unconstitutional on both grounds—it attempts to regulate speech through

direct viewpoint discrimination and by conditioning funding based on the viewpoint. The Letter

openly targets “particular views taken by speakers on a subject.” Rosenberger, 515 U.S. at 829.

After a litany of unsupported allegations about the “discriminatory” expression captured through

diversity, equity, and inclusion, the Letter—in order to “hamstring” those that disagree, Sorrel,

564 at 552—announces that the Department “will no longer tolerate” such expression. Letter at 3.

Nor does it attempt to disguise that it is targeting specific expression based on “motivating

ideology,” a practice expressly prohibited in Rosenberger, 515 U.S. at 829. By its terms, the Letter

targets only “[p]roponents” of diversity, equity, and inclusion and “nebulous goals such as

diversity,” “social justice, or equity.” Letter at 3. The Letter inaptly characterizes these concepts

as “a shameful echo of a darker period” of de jure racial segregation, Letter at 1, characterizing

their expression as “toxic[] indoctrinat[ion],” id. at 2, making unsupported accusations that

proponents “smuggl[e] racial stereotypes” into programming, id. at 2, describing “DEI programs”

as “insidious” discrimination that “stigmatize[s] students,” id. at 3, and tagging diversity, equity,

inclusion, and social justice as “overt and covert racial discrimination.” Id. at 3. The punishment

for engaging in the expression or association that the government disfavors is straightforward:

“appropriate measures” including “loss of federal funding.” Letter at 3, 4.

       By contrast, the Letter explicitly permits educators to develop lessons that denounce social

justice, condemn diversity, or present equity in a neutral or negative light. And any educator could

associate with denouncers of these concepts through official organizations or programs. By the




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Letter’s terms, such efforts can continue to rely on federal funding. Through the Letter, Defendants

have effectively excluded educators, including Plaintiffs and their members, from expressing their

disagreement of the government’s favored viewpoint—that diversity, equity, and inclusion are

“insidious” forms of discrimination. Letter at 3.

                       b. The Letter imposes a content-based restriction.

       Even if the Letter were viewpoint neutral, it would still be content-based discrimination

because it distinguishes permissible from impermissible speech “based on ‘the topic discussed or

idea or message expressed.’” City of Austin v. Reagan Nat’l Advert. Of Austin, LLC, 596 U.S. 61,

74 (2022) (quoting Reed, 576 U.S. at 171). Content-based restrictions are presumptively

unconstitutional. Reed, 576 U.S. at 163; see also United States v. Playboy Ent. Grp., 529 U.S. 803,

818 (2000) (“It is rare that a regulation restricting speech because of its content will ever be

permissible.”). A government action that “single[s] out specific subject matter for differential

treatment” is “content-based.” City of Austin, 586 U.S. at 69 (quoting Reed, 576 U.S. at 169).

       The Letter’s prohibitions are not content-agnostic. Pursuant to the Letter, “[o]ne category

of speech has been completely prohibited . . . [while o]ther categories of speech . . . are permitted.”

Boos v. Barry, 485 U.S. 312, 319 (1988). Certain content regarding our country’s history is

permitted, while any speech about “structural racism” in our country’s history is not. Letter at 2.

And more broadly, any speech or association related to the benefits of diversity, equity, and

inclusion is clearly disfavored and could be viewed, under the terms of the Letter, as banned. Not

only is disfavored content prohibited, it can lead to the loss of critical funding necessary to support

entire educational institutions. By contrast, expression on topics beyond the scope of the Letter

can continue, relying on the federal funding along the way. And because much of the educational

content prohibited by the Letter is required by state laws, the stakes for Plaintiffs could not be




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higher. See District 4J Decl. ¶¶ 11-19, PLFS-034 (describing Oregon’s education and operations

requirements that conflict with the Letter); Hamako Decl. ¶ 7, PLFS-091 (describing Washington

State’s community and technical college requirement that students complete a DEI and antiracism

program).

       The government may not, under threat of loss of funding, exclude specific content—here

any discussion of diversity, equity, inclusion, or related concepts—from public discourse, no

matter how strongly the government disfavors the viewpoint or the content.

               3. The Letter Is Facially Overbroad.

       The Letter also violates the First Amendment because it is facially overbroad. The

overbreadth doctrine allows challenges where, like here, a government action’s “very existence

may cause others not before the court to refrain from constitutionally protected speech or

expression.” Broadrick v. Oklahoma, 413 U.S. 601, 612 (1973); see also Newsom v. Albermarle

Cnty. Sch. Bd., 354 F.3d 249, 257 (4th Cir. 2003) (“[T]hose who desire to engage in legally

protected expression . . . may refrain from doing so rather than risk prosecution or undertake to

have the law declared partially invalid”) (cleaned up). A facially overbroad prohibition punishes

“a substantial amount of protected speech, judged in relation to the statute’s plainly legitimate

sweep.” Virginia v. Hicks, 539 U.S. 113, 118-119 (2003) (cleaned up).

       Even if the Letter has any “plainly legitimate sweep,” Broadrick, 413 U.S. at 615, it pales

in comparison to the substantial amount of protected expression that it punishes. The Fourth Circuit

has previously struck down overbroad limitations on speech in such a context. In Newsom, the

Fourth Circuit held that a dress code was unconstitutionally overbroad where its ban on depicting

weapons would target significant amounts of constitutionally protected expression, including

“symbols, images, and political messages that are entirely legitimate and even laudatory.” 354




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F.3d at 259-60. So too here. The amount of protected speech chilled by the Letter, see supra at 8-

9, is substantial. For example, as described by Plaintiff ASA, “[t]he Letter appears to prohibit not

only lectures, analysis, and research explicitly dealing with questions of race and ethnicity—

including structural and systemic discrimination—but all the subsequent downstream sociological

topics as well. Under the restrictions laid out by the Letter, our members are unable to even have

basic conversations about general sociological issues such as public health policy, economic

inequality, or community development without the fear of a government enforcement action.”

ASA Decl. ¶ 22, PLFS-019. The Letter’s vagueness only exacerbates its fatal overbreadth. See

infra, Sec. 1.B.

       B. The Letter Is Unconstitutionally Vague in Violation of the Due Process Clause.

       Underlying the void for vagueness doctrine are “at least two connected but discrete due

process concerns.” F.C.C. v. Fox Television Stations, Inc., 567 U.S. 239, 253 (2012) (“Fox

Television II”). First, parties must “know what is required of them so they may act accordingly.”

Id.; see also Grayned v. City of Rockford, 408 U.S. 104, 108 (1972) (“Vague laws may trap the

innocent by not providing fair warning.”). Second, clear guidance is needed to ensure “those

enforcing the law do not act in an arbitrary or discriminatory way.” Fox Television II, 567 U.S. at

253 (citing Grayned, 408 U.S. at 108-09).

       The requirement to avoid vagueness is particularly high where, as here, the governmental

action “threatens to inhibit the exercise of constitutionally protected rights,” such as “the right of

free speech or of association.” Vill. Of Hoffman Ests. v Flipside, Hoffman Estates, Inc., 455 U.S.

489, 499 (1982); see also Edelblut I, 651 F. Supp. 3d at 459–60 (finding rigorous vagueness review

required for government action plausibly restricting extracurricular speech in schools).




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                 1. The Letter fails to give fair warning of what it bans.

        The Letter fails to provide definitions and objective standards for assessing discrimination

purportedly in violation of Title VI. The Letter does not define the words “diversity,” “equity,”

“inclusion” or “DEI” and fails to describe “DEI programs” that it says are discriminatory. See,

e.g., Pernell v. Fla. Bd. of Governors of State Univ. Sys., 641 F. Supp. 3d 1218, 1286 (N.D. Fla.

2022) (finding a list of banned “divisive concepts” impermissibly vague). It does not explain the

difference between meaningful discussion and “toxic indoctrination.” It does not detail what

constitutes “race-based decision making” or what types of information serve “as a proxy for race.”

        These omissions are significant: the Letter targets concepts devoid of concrete definition.

For example, there is no clear, shared understanding of what constitutes “DEI,” rather it is a

concept with “contestable moral and political content.” Tenn. Educ. Ass’n v. Reynolds, 732 F.

Supp. 3d 783, 807 (M.D. Tenn. 2024). Consequently, determining what constitutes a prohibited

“DEI program” necessitates a subjective assessment. See, e.g., Smith v. Goguen, 415 U.S. 566, 578

(1974) (finding statute with operating term “treats contemptuously” was subjective and “simply

ha[d] no core”); Coates v. City of Cincinnati, 402 U.S. 611, 614 (1971) (finding statute with

operating term “annoying” was vague “in the sense that no standard of conduct is specified at all”).

        As a result, Plaintiffs are left to guess whether their conduct, expression, or association will

lead to termination of federal funds for their educational institutions. See Am. Compl. 70

(providing examples of activities that may or may not violate the terms of the Letter); see supra at

7. 15 This uncertainty is “untenable.” Loc. 8027 v. Edelblut, No. 21-cv-1077-PB, 2024 WL

2722254, at *12-13 (D.N.H. May 28, 2024) (“Edelblut II”) (finding provisions that did not define


15
  Adding to the confusion and uncertainty is the fact that multiple Department guide related to racial and national
origin discrimination have been removed from the Department’s website, see Am. Compl. ¶ 75 n.21, leaving
regulated parties both without useful information about governing law and unsure whether such information can still
be relied upon.


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key terms or clarify what it meant to “teach” a banned DEI-related concept rendered the line

between acceptable and unacceptable discussion unclear, and left teachers “in the untenable

position of having to wager their careers on a guess or else refrain from discussing matters that

implicate the banned concepts altogether.”).

       Moreover, the Letter forces Plaintiffs’ members and District 4J to decide whether to

comply with licensure, professional requirements, and state laws or jeopardize their institution’s

federal funding. For example, in Oregon, teachers are required by state law to teach a Native

American curriculum, a genocide curriculum, use inclusive instructional materials, and incorporate

Social and Emotional Learning standards, and no later than the 2026 academic year, to teach ethnic

studies, a requirement that is already partially implemented in District 4J. District 4J Decl. ¶¶ 11-

18, PLFS-037. Similarly, in Washington State, all degree-seeking students attending a state

community or technical college are required to take a DEI and antiracism program. See Wash.

Rev. Code Ann. § 28B.10.149 (West 2021); Hamako Decl. ¶ 7, PLFS-091. The Letter puts

institutions and teachers in the impossible position of deciding whether to risk state consequences

or federal consequences; there seemingly is no way to comply with both. See Edelblut I, 651 F.

Supp. 3d at 462 (finding that the conflict between state curriculum requirements and bans on

teaching certain concepts created a “Hobson’s choice”).

               2. The Letter lends itself to subjective interpretation and arbitrary or even
                  discriminatory enforcement.

       The Letter’s ambiguity will allow OCR to exercise unfettered discretion to initiate an

investigation and to determine whether a program or activity violates federal civil rights law, as it

is misconstrued under the Letter. See Edelblut II, 2024 WL 2722254, at *12 (finding law’s lack of

clarity “sow[ed] confusion and le[ft] significant gaps that can only be filled in by those charged

with enforcing the [the law], thereby inviting arbitrary enforcement” in violation of the


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constitution); Tenn. Educ. Ass’n, 732 F. Supp. 3d at 807–08 (explaining act’s inclusion of “value-

laden” terms maximized enforcement discretion and was a “quick route to unconstitutional

ambiguity”). Indeed, the Department is already empowering the public to aid in that effort by

encouraging them to file complaints against purported violators of these amorphous concepts. 16

Being subject to a lengthy and costly investigation is devastating to educators and educational

institutions, even absent an ultimate finding of discrimination. See supra at 10. Accordingly, the

Letter is unconstitutionally vague in violation of the Fifth Amendment’s Due Process Clause.

        C. The Letter Violates the Administrative Procedures Act.

                 1. The Letter is Final Agency Action.

        As an initial matter, the Letter is final agency action subject to judicial review. 5 U.S.C. §

706. An agency’s action is final when it (1) represents “the consummation of the agency’s

decisionmaking process,” and (2) conclusively determines legal “rights or obligations.” Bennett v.

Spear, 520 U.S. 154, 178 (1997) (quotations omitted). An agency action is “immediately

reviewable when it gives notice of how a certain statute will be applied even if no action has yet

been brought.” Am. Acad. of Pediatrics v. Food & Drug Admin., 379 F. Supp. 3d 461, 487 (D. Md.

2019) (cleaned up).

        The Letter is signed by the Acting Assistant Secretary for Civil Rights, the Department

official with statutory authority for enforcing civil rights laws. 20 U.S.C. § 3413(a); see POET

Biorefining, LLC v. Env't Prot. Agency, 970 F.3d 392, 404 (D.C. Cir. 2020) (finding that approval

by agency official who was “no mere subordinate” was evidence of finality). The Letter itself,

rather than the underlying statute, creates obligations by promising to “assess compliance . . . based


16
  See End DEI Portal, supra note 3. For example, those who oppose “DEI” practices have started to file complaints
with OCR against diversity-related programming. See Vincent DiFonzo, Young America’s Foundation Files
Complaint Against Gettysburg College to Department of Education, The Gettysburgian (Mar. 21, 2025),
https://perma.cc/P7QW-5LQF, Ex. 22, PLFS-191.


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on the understanding embodied in this letter.” Letter at 3. The Letter thus sets forth the

“‘interpretation’ and ‘guidance’ of the agency,” POET Biorefining LLC, 970 F.3d at 404, and binds

not only the Department’s enforcement staff but also the regulated community, who are subject to

the penalty of losing federal funding if they do not comply. See U.S. Army Corps of Eng’rs v.

Hawkes Co., 578 U.S. 590, 600 (2016) (finding agency action was final where failure to conform

leaves the regulated party at risk of significant criminal and civil penalties). Department

investigations announced March 14 explicitly reference the Letter, further confirming its status as

a final agency action. See Sierra Club v. Env’t Prot. Agency, 955 F.3d 56, 63 (D.C. Cir. 2020)

(noting that “whether the agency has applied the guidance as if it were binding on regulated

parties” is relevant to prong two of the Bennett test) (quoting Nat’l Mining Ass’n v. McCarthy, 758

F.3d 243, 253 (D.C. Cir. 2014)).

               2. The Letter is Arbitrary and Capricious.

       Under the APA, agency action that is arbitrary and capricious shall be set aside as unlawful.

5 U.S.C. § 706(2)(A). An agency’s decision is arbitrary and capricious if “the agency has relied

on factors which Congress has not intended it to consider, entirely failed to consider an important

aspect of the problem, offered an explanation for its decision that runs counter to the evidence

before the agency, or is so implausible that it could not be ascribed to a difference in view or the

product of agency expertise.” West Virginia v. Thompson, 475 F.3d 204, 212 (4th Cir. 2007)

(quoting Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)).

Here, the letter is arbitrary and capricious because it fails to acknowledge or explain the

Department’s changed position, rely on prior factual findings and available evidence, account for

existing federal and state legal requirements, consider important aspects of the problem, and

grapple with the substantial reliance interests.




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                         a. The Department failed to provide an adequate explanation for its
                            change in its positions.

        While an agency may have latitude to change its policies, that “flexibility” has “limits.”

United Steel v. Mine Safety and Health Admin., 925 F.3d 1279, 1284 (D.C. Cir. 2019). An agency

must “display awareness that it is changing position” and “show that there are good reasons” for

its new policy. F.C.C. v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009) (“Fox Television

I”); see also City of Columbus v. Cochran, 523 F. Supp. 3d 731, 754 (D. Md. 2021) (finding agency

action arbitrary and capricious when the agency failed to articulate why it changed policy

“suddenly, and in contradiction to its previous position”). When an agency fails to do so, it has

“entirely failed to consider an important aspect of the problem.” State Farm., 463 U.S. at 43;

Encino Motorcars, 136 S. Ct. at 2126 (An “[u]nexplained inconsistency” in agency policy is

sufficient to render agency action arbitrary and capricious.”) (citation omitted). Here, the

Department fails to acknowledge, much less explain, the stark conflict between this Letter and its

prior guidance on Title VI and SFFA. The Department has changed positions, in conflict with

previously-issued guidance, in three key areas of education in which Plaintiffs engage: teaching

and learning; student groups, support, and DEI programming; and higher education practices

following SFFA.

        Teaching and Learning. The Department previously took the position that “absent

allegations of discrimination,” OCR did not involve itself in complaints “based on the content of

a school’s academic course material or related discussions.” 17 Its prior position was that

“instruction in or training on the impact of racism or systemic racism” was not categorically




 U.S. Dep’t of Educ., Off. of C.R., Race and School Programming, 6 (Sept. 25, 2023), https://perma.cc/2752-
17

CRW3, Ex. 23, PLFS-196.


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prohibited by Title VI. 18 The Letter, on the other hand, categorizes such lessons as toxic

indoctrination. Letter at 2.

         The Department previously had a policy, grounded in case law, that a hostile environment

was present where harassment constituted “unwelcome race-based conduct that, based on the

totality of circumstances, is subjectively and objectively offensive and is so severe or pervasive,

that it limits or denies a person’s ability to participate in or benefit from the recipient’s education

program or activity.” 19 In providing examples of what did and did not meet that standard, the

Department stated that an elementary school “that requires all student to read a book about race

discrimination and racial justice” would, “absent other facts, not raise allegations that warrant

investigation under Title VI.” 20 Nor would a history curriculum that “requires all students to take

one Mexican-American history class before graduation,” because “OCR would have no reason to

regard a Mexican-American history class as objectively offensive in a way that creates a racially

hostile environment.” 21 The Department also previously stated that asking “students to participate

in small group discussions” focused on racial and ethnic identity, absent additional allegations,

would not warrant investigation under Title VI. 22

         The Department, via the Letter and FAQs, changed those positions without explanation.

Without describing any governing standard, the Letter asserts that lessons on “systemic and

structural racism” have “toxically indoctrinated students.” Letter at 2. The Letter’s prohibition on

“racial stereotypes,” while failing to define that term, arguably encompasses curriculum that

focuses on a particular race, culture or ethnicity. The FAQs state that “social-emotional learning”




18
   Supra note 17, at 2.
19
   Id. at 9.
20
   Id. at 6-7.
21
   Id. at 7.
22
   Id. at 8.


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and “culturally responsive teaching” often “veil discriminatory policies,” and that “mandating

courses, orientation programs, or trainings that are designed to emphasize and focus on racial

stereotypes,” is school-on-student harassment under Title VI. FAQs at 5-7.

        Student Groups, Student Support, DEI programming. Previous guidance found it both

lawful and laudable for universities to, for example, “develop[] comprehensive support programs

to increase retention and completion rates, particularly for students with the greatest needs,” who

are more likely to be students of color; and “ensure[] campuses provide a welcoming and

supportive environment for students from all backgrounds through affinity groups [and] diversity,

equity, and inclusion (DEI) programming.” 23 And the Department’s previous “Fact Sheet:

Diversity & Inclusion Activities Under Title VI,” 24 stated that Title VI does not categorically

prohibit “diversity, equity, and inclusion training,” “cultural competency training,” or

investigations or reports concerning “racial disparities within a school.” Id. at 2. Now the

Department’s policy is the opposite.

        SFFA. Two months after SFFA, the Department and DOJ jointly issued Frequently Asked

Questions (“Joint FAQs”). 25 The Department stated that “nothing in the SFFA decision prohibits

institutions from continuing to seek the admissions and graduation of diverse student bodies,

including along the lines of race and ethnicity, through means that do not afford individual

applicants a preference on the basis of race in admissions decisions.” Joint FAQs at 3. The Joint

FAQs advise that “targeted outreach, recruitment, and pipeline or pathways programs” to



23
   U.S. Dep’t of Educ., Off. of the Under Sec’y, Strategies for Increasing Diversity and Opportunity in Higher
Education (Sept. 28, 2023), https://perma.cc/XTP4-SRAL, Ex. 24, PLFS-215.
24
   U.S. Dep’t of Educ., Off. of C.R., Fact Sheet: Diversity and Inclusion Activities Under Title VI (Jan. 2023),
https://perma.cc/4G25-JKZJ, Ex. 25, PLFS-282.
25
   Supra note 8. The FAQs were accompanied by a Dear Colleague Letter, explaining the views of the Department
and DOJ, see Letter from Kristen Clarke, Assistant Att’y Gen., C.R. Div., U.S. Dep’t of Just., and Catherine E.
Lhamon, Assistant Sec’y for C.R., Off. for C.R., U.S. Dep’t of Educ. (Aug. 14, 2023) (“Dear Colleague Letter”), Ex.
26, PLFS-285.


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encourage applicants from underrepresented backgrounds are lawful, and that “SFFA does not

require institutions to ignore race when identifying prospective students for outreach and

recruitment.” Id. at 3-4. The Joint FAQs advised that race-neutral efforts to increase “equal

opportunity for all students,” such as eliminating legacy admissions, are lawful. Id. at 5. Now,

without explanation, the Department’s position is exactly the opposite: that institutions violate

SFFA and Title VI if they are “motivated by racial considerations” to “increase racial diversity.”

Letter at 2-3. The Letter implies that attempting to increase diversity in any form is itself unlawful

discrimination and specifically identifies race-neutral practices to increase diversity as unlawful.

Letter at 2 (describing “DEI” as “a discriminatory practice”); id. at 3 (“It would . . . be unlawful

for an educational institution to eliminate standardized testing to . . . increase racial diversity”).

        In sum, the Department’s many reversals, without acknowledgment or explanation, render

the Letter arbitrary and capricious. See Fox Television I, 556 U.S. at 515; see also City of

Columbus, 523 F. Supp. 3d at 754.

                        b. The Department Fails to Rely on Prior Factual Findings and
                           Available Evidence.

        An agency action is arbitrary and capricious where its justification lacks support or

contradicts facts before it. See e.g., Am. Fed’n of Gov’t Emps., AFL-CIO v. Fed. Lab. Rels. Auth.,

25 F.4th 1, 10 (D.C. Cir. 2022) (finding agency acted arbitrarily when there was no “factual basis”

for its conclusions).

        The Department does not provide any support for the factual assertions at the heart of its

argument. See Letter at 2-3 (discussing the prevalence of racism and “toxic indoctrination” at

schools and that DEI preferences some races, without any factual evidence). Indeed, the factual

assertions in this Letter (e.g., that “DEI programs . . . frequently preference certain racial groups

and teach students that certain racial groups bear unique moral burdens that others do not . . .


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[and] deny students the ability to participate fully in the life of a school”) contradict prior factual

conclusions. 26 The Department’s bald statements about purportedly pervasive “discrimination”

are simply “unsupported assertion[s]” that cannot support the agency’s decision-making. Safe

Extensions, Inc. v. F.A.A., 509 F.3d 593, 605 (D.C. Cir. 2007). In this way, it is also clear that the

Letter’s rationale is mere pretext for the administration’s actual goal of eliminating ideologies,

practices, and programming with which it disagrees no matter the cost. See supra, Sec. 1.A.2.a.

                           c. The Letter fails to account for existing federal and state legal
                              standards.

         Relatedly, the Department fails to grapple with the case law that informs how courts

interpret Title VI or with the Department’s own Title VI regulations. See Friends of Back Bay v.

U.S. Army Corps of Eng’rs, 681 F.3d 581, 588 (4th Cir. 2012) (“A material misapprehension of

the baseline conditions existing in advance of an agency action can lay the groundwork for an

arbitrary and capricious decision.”). While the Letter claims to enforce “applicable” civil rights

statutes and regulations, it fails to actually describe or address the applicable legal standards from

cases or regulations, 27 and to the extent it does, it misstates them. It is not enough to “indicat[e] in

boilerplate language” that the relevant statutory factors were considered. Wash. Metro. Area

Transit Auth. v. Loc. 689, Amalgamated Transit Union, 818 F. Supp. 2d 888, 899 (D. Md. 2011)

(cleaned up).




26
   Questions and Answers, supra note 8, at 3-4 (describing how pathway programs that promote and maintain a
diverse student applicant pool allow institutions to better attain student body diversity and its related educational
benefits).
27
   This is in sharp contrast to prior guidance issued by the Department, which laid out the legal standards. Resolving
a Hostile Environment Under Title VI: Discrimination Based on Race, Color, or National Origin, Including Shared
Ancestry or Ethnic Characteristics, supra note 11 (outlining the correct legal standard for racial harassment claims);
Harassment based on Race, Color, or National Origin on School Campuses, supra note 10 (same); Race and School
Programming, supra note 17 (explaining multiple legal standards, including the standard for differential treatment
claims). These resources, along with dozens of others that relate to racial harassment, are no longer available on the
Departments website. See Am. Compl. ¶ 75 n.21.


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       For example, the Department claims SFFA “applies more broadly” than its holding so as

to give the baseless impression that any acknowledgement of race or “DEI”-related activity is

unlawful, but provides no analysis or reasoning for this conclusion, which in fact contradicts SFFA

itself. See SFFA, 600 U.S. at 181 (“[N]othing in this opinion should be construed as prohibiting

universities from considering an applicant’s discussion of how race affected his or her life.”).

Similarly, the Department either ignores or misstates the standard for determining whether a

racially hostile environment exists. Compare Ricketts v. Wake Cnty. Pub. Sch. Sys., WCPSS, 125

F.4th 507, 521 (4th Cir. 2025) (setting forth standard); with FAQ 9 at 6 (discussing racially hostile

environments with no articulation of the relevant legal standard). In FAQ 13, after referring to the

Arlington Heights analysis for determining whether an act was motivated by a racially

discriminatory purpose, the Department adds an additional factor divorced from the case law and

seemingly aimed at punishing schools for prior legal behavior. FAQ 13 (“A school’s history and

stated policy of using racial classifications and race-based policies to further DEI objectives,

‘equity,’ a racially oriented vision of social justice, or similar goals will be probative in OCR’s

analysis of the facts and circumstances of an individual case.”). Without the correct legal context,

particularly the standard applying to racial harassment claims, schools are left to believe that lawful

activity—such as affinity groups or classroom discussions acknowledging structural racism—is

unlawful.

       Furthermore, the Department’s position that it is unlawful to implement race-neutral

policies to increase diversity contradicts its own regulations, see 34 C.F.R. § 100.5 (explaining

schools “may properly give special consideration to race, color, or national origin to make the

benefits of its program more widely available to such groups, not then being adequately served”),

as well as this Circuit’s precedent, see Coal. for TJ v. Fairfax Cnty. Sch. Bd., 68 F.4th 864, 885–




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86 (4th Cir. 2023), cert. denied, 218 L. Ed. 2d 71 (Feb. 20, 2024) (finding efforts to “improve

racial diversity and inclusion by way of race-neutral measures” is a “practice that the Supreme

Court has consistently declined to find constitutionally suspect”). 28 Therefore, because the

Department diverges from applicable case law and attempts to change it with no statutory basis or

adequate explanation, its actions are arbitrary and capricious.

                           d. The Department Failed to Consider Two “Important Aspect[s] of the
                              Problem.”

         An agency action is arbitrary and capricious if the agency “failed to consider an important

aspect of the problem.” State Farm, 463 U.S. at 43. Here, the Department failed to consider: 1) the

critical role that states and localities play in education (and the Department’s own lack of

authority), and 2), the impact of reversing longstanding approaches to Title VI interpretation and

enforcement on underserved communities and students facing discrimination.

         The Department fails to consider how the Letter undermines state and local educational

prerogatives. Many states and localities, which have primary responsibility over education, have

put into place practices that the Letter seemingly prohibits. See, e.g., District 4J Decl. ¶¶ 11-17,

PLFS-034; Hamako Decl. ¶ 7, 23, PLFS-091. Neither the Letter nor the FAQs address any of the

rationales states have cited for implementing such programs. 29 See, e.g., FAQ at 3 (indicating


28
   See, e.g., Bos. Parent Coal. for Acad. Excellence Corp. v. Sch. Comm. for City of Bos., 89 F.4th 46, 62 (1st Cir.
2023), cert. denied, 145 S. Ct. 15 (2024) (“Bos. Parent II”) (“There is nothing constitutionally impermissible about a
school district including racial diversity as a consideration and goal in the enactment of a facially neutral plan”).
Parents Involved in Cmty. Schs. v. Seattle Sch. Dist. No 1, 551 U.S. 701, 789 (2007) (finding “[s]chool boards may
pursue the goal of bringing together students of diverse backgrounds and races” through means such as “drawing
attendance zones with general recognition of the demographics of the neighborhood; . . . [and] recruiting students
and faculty in a targeted fashion. ”); see also Bos. Parent Coal. for Acad. Excellence Corp. v. Sch. Comm. for City of
Bos., 996 F.3d 37, 48 (2021) (“Bos. Parent I”).
29
   For example, after passage of an Oregon bill requiring the development of social emotional standards (“SEL”), an
advisory group put together a description of proposed SEL standards in Oregon with an in-depth discussion of the
data and research behind the proposed standards. Or. Dep’t of Educ. Preliminary Description of the Proposed Social
Emotional Learning Standards Framework for Oregon, (Sept. 2022), https://perma.cc/XLT2-ZSCB; see e.g., p. 17
(stating that studies found “that compared to the control groups, the students who participated in SEL
...demonstrated significantly improved social and emotional skills, attitudes, behavior, and academic performance



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without explanation that “social-emotional learning” is discriminatory). Likewise, the Department

fails to acknowledge the statutory limitations on its authority—namely, that it cannot dictate

institutional and educational programs and curricular choices—and enforcement of the Letter

contravenes those provisions. See infra, Sec. 1.C.4.

         Similarly, the Department failed to consider the potential harm to students of the changes

that would be required by this Letter. This includes the harm from shifting curriculum away from

what states and localities have determined is of the most benefit to all students; 30 the harm from

lost opportunity to learn about difficult topics in history through discussion of systemic racism, 31

see e.g., Gallagher Decl. ¶ 23, PLFS-060; the harm of the loss of diversity, equity, and inclusion

programs and other related student supports; 32 and the harm to all students, especially minority

students, in the Department’s new approach to enforcing civil rights protections under Title VI. 33

See Water Quality Ins. Syndicate v. United States, 225 F. Supp. 3d 41, 68 (D.D.C. 2016) (noting

courts have “not hesitated to reject agency determinations . . . when an agency ignores factual

matters”).


that reflected an 11- percentile-point gain in achievement . . . Additionally, strong SEL abilities are associated with
long-term outcomes such as increased graduation rates, greater college completion, and ability to obtain stable
employment”) (cleaned up), Ex. 27, PLFS-289.
30
   See id.
31
   See, e.g., Hillary Parkhouse et al., Multicultural education professional development: A review of the literature, 89
Rev. Educ. Rsch. 416 (2019), https://perma.cc/V7RJ-LN2U (reviewing studies that show improved outcomes for
students with teachers that receive multicultural education professional development), Ex. 28, PLFS-357.
32
    See, e.g., Dina C. Maramba & Patrick Velasquez, Influences of the Campus Experience on the Ethnic Identity
Development of Students of Color, 44 Educ. & Urb. Soc’y 294, 310 (2014), https://perma.cc/ZA3M-GQKB
(concluding that programs that help students develop their racial and ethnic identities have many benefits, including
the “development of their analytical and critical thinking skills, problem solving, and communications skills”), Ex.
29, PLFS-417; Derrick R. Brooms & Arthur R. Davis, Staying focused on the goal: Peer bonding and faculty
mentors supporting persistence in college, 48 J. Black Studs. 305, 322 (2017), https://perma.cc/4BWM-4D6U
(finding that involvement in student organizations such as a Black Student Union and mentoring programs led to
enhanced educational experiences and that “students continue to desire increased diversity on college campuses.”);
Ex. 30, PLFS-442.
33
    Resolving a Hostile Environment Under Title VI: Discrimination Based on Race, Color, or National Origin,
Including Shared Ancestry or Ethnic Characteristics, supra note 11 (describing examples of OCR resolving
complaints of racial and national origin discrimination, noting primarily instances of discrimination against minority
populations); id. at 7 (describing reported racial harassment against a black student that included calling the student
the “n” word, a “slave,” “blackie,” and “cotton picker”).


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                       e. The Department Failed to Consider the Reliance Interests of Schools
                          and Educators.

       “When an agency changes course . . . it must be cognizant that longstanding policies may

have engendered serious reliance interests that must be taken into account.” Dep’t of Homeland

Sec. v. Regents of the Univ. of Cal., 591 U.S. 1, 30 (2020) (cleaned up). The Department fails to

do so here. Plaintiffs and educational institutions nationwide have been operating according to the

understanding of Title VI and the Equal Protection clause embodied in the case law, regulations,

and the Department’s prior guidance for decades. Countless curricular and extracurricular

activities have been developed based on those understandings. For Plaintiffs and Plaintiffs’

members, this includes courses, student programming, and faculty positions. See Hamako Decl. ¶

12, PLFS-092 (conforming with the Letter would involve “massive alterations to our courses, the

elimination of faculty positions, a reduction in class sections, or even the folding of [the]

department”); Gallagher Decl. ¶ 27, PLFS-061 (describing the Letters’ implications for teaching

race relations, which he has been doing for thirty years); Blee Decl. ¶ 25, PLFS-072 (noting

fundamental sociological concepts and baseline assumptions that underlie the field are under threat

from the Letter); District 4J Decl. ¶ 41, PLFS-045 (describing the long-term planning required to

run the district and how the Letter throws that into doubt). Forcing schools and educators, including

Plaintiffs, to potentially fully overhaul their curriculum, programming, and teaching positions

imposes steep costs, particularly as the Letter requires institutions to come into compliance on a

very short timeline, which makes it likely that schools either cannot offer replacement

programming or the replacement is cobbled together quickly and may not achieve instructional

goals as effectively. See District 4J Decl. ¶ 13, PLFS-035 (discussing how putting in place new

standards “involv[es] large numbers of stakeholders, review and piloting of instructional materials,

selection of materials, teacher training and ultimately, implementation of the curriculum in the


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classroom”). Moreover, many schools rely on programs that may now considered unlawful under

this Letter to meet other legal requirements—for example, District 4J and Plaintiff member’s

community college are required by state law to offer certain courses that broadly fall under a “DEI”

banner. District 4J Decl. ¶¶ 11-17, PLFS-034; Hamako Decl. ¶¶ 7, 23, PLFS-091.

        The risk of loss of federal funding heightens these reliance concerns. Federal financial

assistance makes up an average of 11% of all funding for all K-12 schools across the country, and

in some places, much more. 34 For example, Plaintiff 4J received $40 million in funds from the

Department in 2021-2022. The threat of pulling those federal funds is as serious a threat to students

(and their parents) in this country as is imaginable. See supra at 10-11, District 4J Decl. ¶ 40,

PLFS-045 (explaining drastic effects of spending cuts). This leaves regulated entities, and

Plaintiffs, in the impossible position of being forced to overhaul programming in an accelerated

timeframe—harming students and teachers while potentially risking violations of federal law and

state curriculum requirements—or risk the devastating loss of federal funding. Whatever the new

administration’s policy priorities with respect to civil rights enforcement, it does not have carte

blanche to ignore the reliance interests created by the Department’s prior policy guidance.

                 3. The Letter is Contrary to Constitutional Rights

        When final agency action is contrary to constitutional rights, the APA requires it to be

“set aside.” 5 U.S.C. § 706(2)(B). As explained above, supra, Sec. 1.A & 1.B, the Letter violates

the First and Fifth Amendments and, therefore, the APA.




34
  U.S. Dep’t of Educ. Nat’l Ctr. for Educ. Stats., Public School Revenue Sources (May 2024),
https://perma.cc/ZY39-9KAS, Ex. 31, PLFS-465; id. at 1 (elementary and secondary public schools received $101
billion in federal funds in 2021-2021).


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               4. The Letter is Not in Accordance with Law and is in Excess of Statutory
                  Authority.

       The APA requires that courts “hold unlawful and set aside agency action” that is “not in

accordance with law” or is “in excess of statutory . . . authority.” Id. § 706(2).

       When Congress passed the Department of Education Organization Act (“DEOA”), Pub. L.

No. 96–88, 93 Stat. 668 (1979), establishing the Department of Education, it made clear that the

Department is not authorized “to exercise any direction, supervision, or control over the

curriculum, program of instruction,. . . or over the selection or content of library resources,

textbooks, or other instructional materials by any educational institution.” 20 U.S.C. § 3403(b).

As described above, the Letter does exactly that, by directing what educators and institutions can

teach in ways that are not required by Title VI. See supra, Sec. 1.C.2.c; see e.g., Letter at 3

(prohibiting teaching on structural racism because it “toxically indoctrinate[s] students”). As such

the Department has exceeded its authority. See Nat’l Fed’n of Indep. Bus. v. OSHA, 595 U.S. 109,

117 (2022) (“Administrative agencies are creatures of statute. They accordingly possess only the

authority that Congress has provided.”).

       Similarly, several additional federal statutes that govern the administration of federal

education programs prohibit the Department’s control over curriculum and related programs. See

20 U.S.C. § 1232a; 20 U.S.C. § 7906a(a); 20 U.S.C. § 1132-2. For the same reasons discussed

above, the Letter is not in accordance with these laws.

               5. The Letter is a Legislative Rule Requiring Notice and Comment
                  Rulemaking.

       The Letter must be held unlawful and set aside because it is a legislative rule unlawfully

promulgated without notice and comment rulemaking. See 5 U.S.C. § 706(2)(D). Legislative rules

are “statement[s] of general or particular applicability and future effect” that “implement, interpret,



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or prescribe law or policy,” and have the “force and effect of law.” See Perez v. Mortgage Bankers

Ass’n, 575 U.S. 92, 95–96 (2015). In particular, contradicting an existing regulation is a hallmark

of legislative rules “manifesting [an agency’s] intent to . . . speak with the force of law.” Nat. Res.

Def. Council v. Wheeler, 955 F.3d 68, 83 (D.C. Cir. 2020). Here, the Letter directly contradicts the

Department’s existing regulations implementing Title VI, 34 C.F.R. § 100.5(i), and is thus by

definition a legislative rule.

    II.      Plaintiffs Are Suffering Irreparable Harm.

          To establish irreparable harm, plaintiffs must show that they will suffer harm that is

“neither remote nor speculative, but actual and imminent,”’ and that is irreparable, meaning that it

“cannot be fully rectified by the final judgment after trial.” Mountain Valley Pipeline, LLC v. 6.56

Acres of Land, Owned by Sandra Townes Powell, 915 F.3d 197, 216 (4th Cir. 2019). Where there

is a “prospect of an unconstitutional enforcement,” irreparable injury is established. Air Evac EMS,

Inc. v. McVey, 37 F.4th 89, 103 (4th Cir. 2022) (citation omitted). Likewise, showing a strong

likelihood of success on constitutional claims establishes irreparable harm. Roman Cath. Diocese

of Brooklyn v. Cuomo, 592 U.S. 14, 19 (2020); Leaders of a Beautiful Struggle v. Balt. Police

Dep’t, 2 F.4th 330, 346 (4th Cir. 2021) (“It has long been established that the loss of constitutional

freedoms, ‘for even minimal periods of time, unquestionably constitutes irreparable injury.’”)

(quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)).

          As shown above, Plaintiffs have established a likelihood of success on their First

Amendment and Due Process constitutional claims in addition to showing Defendants’ violations

of the APA. The irreparable harm flowing from Defendants’ unlawful action generally falls into

four categories: chilled speech and association, threat of investigation and corresponding

reputational harm, loss of the right to comment, and the threat of loss of funds.




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         Chilled Expression and Association. Due to the Letter, Plaintiffs fear that they must

suppress their speech, and potentially eliminate any teaching, program, activity, lesson,

association, office, or research that could fall under the Letter. See supra at 8-9, see e.g., AFT

Decl. ¶ 25, PLFS-009 (“AFT members are worried they must self-censor their speech, including

lectures, courses, programs, and other activities” due to the Letter); AFT-MD Decl. ¶ 27, PLFS-

028; Hamako Decl. ¶ 10-12, 22, 31, PLFS-091; John Doe Decl. ¶ 25, PLFS-105; Jane Doe Decl.

¶ 16, PLFS-082. The Letter’s vagueness, and the failure of the FAQs to clarify Plaintiffs’

obligations, have magnified the chilling effect, as Plaintiffs and their members have no way to

know whether the work they do may be found to run afoul of the letter. See supra at 7, AFT Decl.

¶ 28, PLFS-010; Gallagher Decl. ¶ 14, PLFS-057; Blee Decl. ¶ 17, PLFS-069; AFT-MD Decl. ¶

20, 30, PLFS-027; Hamako Decl. ¶ 10-12, 23, PLFS-091.

         Threat of Investigation. Plaintiffs fear that the work that they are doing could lead to an

investigation. See supra at 9-10, see e.g., John Doe Decl. ¶ 28, PLFS-106; District 4J Decl. ¶ 16,

PLFS-036; Gallagher Decl. ¶ 20, PLFS-058; Blee Decl. ¶ 12, PLFS-068; Jane Doe Decl. ¶ 8,

PLFS-079; Hamako Decl. ¶ 16, PLFS-093. The risk of potential investigation is increased by the

Departments introduction of the “End DEI” portal. See supra at 10. Investigations into Plaintiffs

would also risk severe reputational harm. Id. This risk is also not “remote or speculative”; the

Department has opened investigations into 51 universities following issuance of the Letter. 35

         Loss of Right to Comment. A party suffers irreparable harm due to their inability to

participate in notice and comment procedures.” Ass’n of Cmty. Cancer Ctrs. v. Azar, 509 F. Supp.

3d 482, 500–01 (D. Md. 2020). If given the chance, District 4J would have submitted a comment,




35
  Press Release, U.S. Dep’t of Educ., Office for Civil Rights Initiates Title VI Investigations into Institutions of
Higher Education (Mar. 14, 2025), https://perma.cc/8PP4-GUJB, Ex. 32, PLFS-472.


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and AFT and ASA would have submitted comments on behalf of their members. See District 4J

Decl. ¶ 44, PLFS-046; ASA Decl. ¶ 28, PLFS-020; AFT Decl. ¶ 29, PLFS-011.

        Threat of Loss of Funds. The loss of federal funding threatened in the letter, in addition to

its chilling effects, see supra 10-11, would constitute “severe economic loss[],” and may require a

school “to shutter operations that provide critical” services or resources, which is sufficient to

show irreparable harm. Ass'n of Cmty. Cancer Ctrs., 509 F. Supp. 3d at 501. For example, if federal

funding were removed, the fallout would be enormously damaging. See supra at 10-11, District 4J

Decl. ¶ 39, 40, PLFS-045; Hamako Decl. ¶ 23, PLFS-095; John Doe Decl. ¶ 27, PLFS-106. If

funding were terminated, Plaintiffs’ members’ employment would be in jeopardy, particularly in

cases where a member’s conduct or expression was found to contribute to the funding termination.

AFT-MD Decl. ¶ 30, 31, PLFS-029 (noting risk to members’ jobs); ASA Decl. ¶ 27, PLFS-020

(same); Hamako Decl. ¶ 10, PLFS-091 (noting risk to his job); Gallagher Decl. ¶ 13, PLFS-056

(same); Blee Decl. ¶ 12, PLFS-068 (same); Jane Doe Decl. ¶ 8, PLFS-079 (same).

         No amount of money damages will be able to repair the harm, as the loss of federal funding

would lead to entire programs, centers, departments, or services being dismantled or shut down.

Plaintiffs’ fears are not remote or speculative. While in the past, educational institutions rarely lost

federal education funding absent a thorough investigation and the availability of due process, under

the current administration, decisions related to funding termination have proceeded much more

quickly and with less transparency. 36 Billions of dollars of Department of Education grants and

contracts have already been terminated with no notice. Am. Compl. ¶ 8. On March 7, the

Department of Education, in conjunction with other agencies, announced that it was terminating


36
  Natalie Schwartz, Trump Administration Cancels $400M of Columbia’s Grants and Contracts Amid Antisemitism
Probe, Higher Ed Dive (Mar. 7, 2025), https://perma.cc/RK9J-DGCS (“The cancellation comes only four days after
the probe into the Ivy League institution was announced.”), Ex. 33, PLFS-479. OCR investigations and enforcement
have typically taken months to years.


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$400 million in funding to Columbia University, notifying the University only four days prior that

it would be investigating the school. 37 On March 14, 2025, the Department announced

investigations into 51 universities related to the Letter. 38 These actions give Plaintiffs, and any

other regulated party, every reason to fear severe repercussions if they do not immediately comply

with the Letter.

         Overall, the Letter’s impact is not just devastating for Plaintiffs but has ripple effects across

the education landscape. 39 Given the looming investigation and funding threat, schools, colleges,

and universities are assessing their programs with deep apprehension and uncertainty regarding

what the Department will do. 40 Some schools have already felt forced to sacrifice valued staff,

initiatives and programs. 41 The fallout from this Letter has already had widespread effects, and

absent injunctive relief, the impermissible bind the government has created for Plaintiffs and

educational institutions writ large will continue: self-censor and lose constitutional rights, or be

targeted for investigation and risk losing all federal education funding.


37
   Press Release, U.S. Dep’t of Educ., DOJ, HHS, ED, and GSA Announce Initial Cancelation of Grants and
Contracts to Columbia University Worth $400 Million (Mar. 7, 2025), https://perma.cc/FV3F-ELR7, Ex. 34, PLFS-
484. This announcement appears to contradict Title VI’s requirements, which provide that the government may not
cut off federal funding until it has conducted a program-by-program evaluation of the alleged violations, provided
recipients with notice an “opportunity for a hearing,” limited funding cutoff to the particular program or part where
noncompliance was found, and submitted a report explaining its actions to relevant committees in Congress at least
thirty days before funding can be stopped. 42 U.S.C. § 2000d-1. This administration’s disregard of the law
underscores the enormous risk faced by Plaintiffs and all regulated entities.
38
   Press Release, U.S. Dep’t of Educ., Office for Civil Rights Initiates Title VI Investigations into Institutions of
Higher Education, supra note 35.
39
   Nat’l Ctr. for Educ. Stats., Public School Revenue Sources, supra note 34; supra, Sec. 1.C.2.e.
40
   Jordan McPherson & Tyler Bagent, Trump Administration’s Anti-DEI Letter Causes Confusion, Anxiety, The
Rotunda (Feb. 19, 2025), https://perma.cc/H75X-KNFP, Ex. 35, PLFS-489.
41
   See, e.g. John Bach, President Pinto shares message regarding future of DEI at UC, UC Cincinnati (Feb. 21,
2025), https://perma.cc/Z8XV-4JCV, Ex. 36, PLFS-493 (describing that the university President determined that
because “the federal government has effectively outlawed DEI programs,” and the university “relies on federal
funding,” it was “untenable” not to take action, including by “removing references to DEI principles across
university websites, social media and collateral materials,” and “evaluating jobs and duties related to DEI and
examining [] DEI programming, initiatives and projects”); Megan Henry, Ohio State University is closing its Office
of Diversity and Inclusion, Ohio Cap. J. (Mar. 3, 2025), https://perma.cc/GQ8E-Y82V, Ex. 37, PLFS-496
(explaining that The Ohio State University is closing its Office of Diversity and Inclusion and the Office of Student
Life’s Center for Belonging and Social Change, and eliminating sixteen professional staff positions in advance of
the enforcement deadline for the Letter).


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    III.      The Balance of the Equities and the Public Interest Favor Enjoining the Letter.

           The Government “is in no way harmed by issuance of a preliminary injunction which

prevents [it] from enforcing restrictions likely to be found unconstitutional[,] [i]f anything, the

system is improved by such an injunction.” Leaders of a Beautiful Struggle, 2 F.4th at 346 (citing

Giovani Carandola, Ltd. v. Bason, 303 F.3d 507, 521 (4th Cir. 2002)); see also PFLAG, Inc. v.

Trump, No. CV 25-337-BAH, 2025 WL 510050, at *23 (D. Md. Feb. 14, 2025). Likewise, “[t]here

is generally no public interest in the perpetuation of unlawful agency action.” Am. Fed'n of Tchrs.

v. Bessent, No. CV DLB-25-0430, 2025 WL 582063, at *14 (D. Md. Feb. 24, 2025) (internal

citation omitted). Rather, “the public interest favors protecting constitutional rights,” id.,

particularly in the context of eliminating infringements on free speech rights, see Nat’l Pub. Radio,

Inc. v. Klavans, 560 F. Supp. 3d 916, 929 (D. Md. 2021) (noting that there is a “well-settled public

interest in the freedom of expression”). Here, for the same reasons that Plaintiffs are likely to

succeed on the merits, equity requires relief. 42

                                                  CONCLUSION

           For the foregoing reasons, Plaintiffs respectfully request that this Court grant Plaintiff’s

Motion and issue a preliminary injunction consistent that requested in the Proposed Order.




42
   The Court should exercise its discretion to waive or set at $0 the security requirement of Fed. R. Civ. P. 65(c)
because Defendants will face no monetary injury from any relief ordered by the Court. Pashby v. Delia, 709 F.3d
307, 332 (4th Cir. 2013) (“[T]he district court retains the discretion to set the bond amount as it sees fit or waive the
security requirement.” (citations omitted)). In similar cases, courts in this jurisdiction and others have determined
bond unnecessary. See, e.g., PFLAG, Inc. v. Trump, 2025 WL 510050, at *23 (declining to require a bond); Nat'l
Council of Nonprofits v. Off. of Mgmt. & Budget, 2025 WL 597959, at *18 (declining to set a bond).


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Dated: March 28, 2025                Respectfully submitted,

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                             CERTIFICATION OF SERVICE

      I hereby certify that on March 28, 2025, I electronically filed this document with the Court

by using the CM/ECF system, and that this document was distributed via the Court’s CM/ECF

system.

                                                           /s/Victoria S. Nugent____________
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